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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


   W.B., a minor child by and through
   his father and legal guardian, David
   B., and A.W., a minor child by and
   through her mother and legal
   guardian, Brittany C., on behalf of
   themselves and all others similarly
   situated,

               Plaintiffs,

   v.                                         Case No. 3:21-cv-771-MMH-PDB

   JASON WEIDA, in his official
   capacity as Secretary for the
   Florida Agency for Health Care
   Administration,

                    Defendant.
   _________________________________

                                    ORDER

         THIS CAUSE is before the Court on the Joint Status Report and Motion

   to Extend Stay (Dkt. No. 96; Motion) filed on October 18, 2023. In the Motion,

   the parties request that the Court extend the stay in this matter while they

   continue settlement negotiations.      See generally Motion.       After due

   consideration, it is

         ORDERED:
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         1.     The Joint Status Report and Motion to Extend Stay (Dkt. No. 96) is

                GRANTED.

         2.     This   case   remains   STAYED       and   ADMINISTRATIVELY

                CLOSED until November 20, 2023.

         3.     No later than November 20, 2023, the parties shall file a joint

                notice advising the Court of the status of this matter.

         DONE AND ORDERED in Jacksonville, Florida this 20th day of

   October, 2023.




   ja

   Copies to:

   Counsel of Record




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